                                                     Case 2:23-cr-00024-JLS       Document 96    Filed 04/04/25   Page 1 of 7 Page ID #:941


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                                                     4
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                                                     5       CHRISTOPHER KAMON
                                                     6
                                                     7
                                                     8                        UNITED STATES DISTRICT COURT

                                                     9                      CENTRAL DISTRICT OF CALIFORNIA

                                                    10
301 N. LAKE AVENUE, STE. 315  PASADENA, CA 91101




                                                         UNITED STATES OF AMERICA,                     Case No. 23-CR-00024-JLS
                                                    11                                                          23-CR-00047-JLS-2
                                                                                    Plaintiff,
                                                    12                                                 DEFENDANT CHRISTOPHER
            THE SEVERO LAW FIRM




                                                                                                       KAMON’S OBJECTION TO
                                                    13                                                 GOVERNMENT’S BREACH OF
                                                           vs.                                         THE PLEA AGREEMENT
                                                    14
                                                                                                       Hearing Date: April 11, 2025
                                                    15                                                 Hearing Time: 9:30 a.m.
                                                           CHRISTOPHER KAMON,
                                                    16                                                 Courtroom 8A, First Street Courthouse
                                                                                  Defendant.           Hon. Josephine L. Staton
                                                    17
                                                    18
                                                                 Defendant CHRISTOPHER KAMON hereby objects to the Government’s
                                                    19
                                                         sentencing position filed on its behalf on the grounds that it constitutes a breach
                                                    20
                                                         of the plea agreement.
                                                    21
                                                                 Defendant requests any and all remedies provided by law.
                                                    22
                                                                 Counsel for the Government was notified of this objection and
                                                    23
                                                         stated that he will file a response opposing it.
                                                    24
                                                         Dated: April 5, 2025                           THE SEVERO LAW FIRM
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                                                    26
                                                                                                 By     /s/ Michael V. Severo
                                                                                                        Michael V. Severo
                                                    27                                                  Attorney for Defendant,
                                                                                                         CHRISTOPHER KAMON
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                                                     Case 2:23-cr-00024-JLS     Document 96     Filed 04/04/25   Page 2 of 7 Page ID #:942


                                                     1                MEMORANDUM OF POINTS AND AUTHORITIES
                                                     2                                   INTRODUCTION
                                                     3         Christopher Kamon (“Kamon”) was charged with wire fraud in two
                                                     4   separate cases. On January 19, 2023, Kamon was charged by Information in case
                                                     5   number 23-CR-00024 JLS. He was charged with a single count of wire fraud
                                                     6   violation of 18 U.S.C. § 1343, arising from allegations that he embezzled funds of
                                                     7   his employer Girardi Keese, a law firm (“the side fraud”). On January 31, 2023,
                                                     8   Kamon was indicted along Thomas Girardi (“Girardi”) the owner of the law firm,
                                                     9   on five counts of wire fraud (“the main fraud”).
                                                    10         On October 8, 2024, Kamon changed his plea and pleaded guilty to the
301 N. LAKE AVENUE, STE. 315  PASADENA, CA 91101




                                                    11   single count in the Information and Count Two of the Indictment. The plea was
                                                    12   entered pursuant to a consolidated plea agreement with the Government. A copy
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                                                    13   of the plea agreement is attached hereto as Exhibit A, for the court’s ease of
                                                    14   reference.
                                                    15         In the plea agreement, the parties agreed that the amount of loss was
                                                    16   between $3.5 million and $25,000,000, resulting in an upward adjustment of
                                                    17   either 18 or 20 levels in the guidelines. These adjustments include both the main
                                                    18   fraud and side fraud cases.
                                                    19         In the plea agreement the Government agreed as follows:
                                                    20         a.     Page 4, ¶ 3a. Not contest facts agreed to in this agreement.
                                                    21         b.     Page 4, ¶ 3e. At the time of sentencing, recommend that the court
                                                    22   select the low end of the applicable guideline range.
                                                    23         The Government further agreed that the loss “is less than $25,000,000….”
                                                    24   Page 9, ¶ 13.
                                                    25         In addition, the parties agreed to a factual statement found at the end of
                                                    26   the plea agreement as Exhibit A.
                                                    27         U.S. Probation prepared its Presentence Report (“PSR”) and disclosed it on
                                                    28   December 27, 2024. The PSR calculates the amount of loss at $26,000,000.00,
                                                                                                  2
                                                     Case 2:23-cr-00024-JLS      Document 96      Filed 04/04/25   Page 3 of 7 Page ID #:943


                                                     1   positing that the payments made to Victim 1 should not be credited to the amount
                                                     2   of loss. As part of its report, the U.S. Probation Office also included a letter from
                                                     3   the bankruptcy trustee regarding Girardi and asking for the “maximum
                                                     4   sentence.”
                                                     5         On January 13, 2025, defendant filed an objection pursuant to Federal
                                                     6   Rules of Criminal Procedure 32(f) and CACD Local Rule 32-3.2, arguing that
                                                     7   grouping both cases into one guideline calculation and failing to give credit for
                                                     8   payments made to victims.
                                                     9         On March 28, 2025, defendant and the Government filed their respective
                                                    10   sentencing positions.
301 N. LAKE AVENUE, STE. 315  PASADENA, CA 91101




                                                    11         The Government’s position agrees with the amount of loss in the PSR ($26
                                                    12   million) but disagrees with the PSR that Kamon is entitled to a 2-level reduction
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                                                    13   for being a zero-point offender (USSG § 4C1.1). The Government’s position also
                                                    14   relies, in part, on its Exhibit 1, a letter from Elissa Miller, the Chapter 7
                                                    15   Bankruptcy Trustee for Girardi Keese. See Docket 454, p. 1, line 27. In this
                                                    16   exhibit, Ms. Miller implores the court to impose “the maximum sentence,” as she
                                                    17   did with the same type of letter regarding Girardi and included in the PSR. The
                                                    18   letter also states that Kamon charged over $22 million on GK’s American Express
                                                    19   card, facts that are inflammatory, were not agreed upon between the parties and
                                                    20   are intended solely to increase the guidelines calculation. In fact, in the Girardi
                                                    21   trial, the Government disputed these charges were for Kamon’s benefit and not
                                                    22   legitimate GK expenses.
                                                    23         On April 3, 2025, the PSR was revised to remove the previously granted 2-
                                                    24   point reduction for zero-point offender status. In its revised version, the PSR
                                                    25   asks for a 151-month imprisonment sentence.
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                                                     Case 2:23-cr-00024-JLS     Document 96     Filed 04/04/25    Page 4 of 7 Page ID #:944


                                                     1                      THE GOVERNMENT HAS BREACHED
                                                                                 THE PLEA AGREEMENT
                                                     2
                                                               “The government breaches its bargain with the defendant if it purports to
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                                                         make the promised recommendation while ‘winking’ at the district court to
                                                     4
                                                         implicitly request a different outcome.” U.S. v. Farias-Contreras, 104 F.4th 22
                                                     5
                                                         (9th Cir. 2024), quoting U.S. v. Heredia, 768 F.3d 1220, 1231 (9th Cir. 2014).
                                                     6
                                                               Plea agreements are contractual in nature but because it involves a
                                                     7
                                                         defendant’s constitutional rights, the validity of the agreement is examined to
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                                                         ensure that it complies with a defendant’s voluntariness and intelligence in
                                                     9
                                                         entering into the plea bargain and what said defendant understood to be the
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301 N. LAKE AVENUE, STE. 315  PASADENA, CA 91101




                                                         terms of the agreement when he pleaded guilty. Farias-Contreras, at p. 33, citing
                                                    11
                                                         U.S. v. Harvey, 791 F.2d 294, 301 (4th Cir. 1986)(cleaned up). Thus, the
                                                    12
                                                         Supreme Court has ruled that the Government’s breach of the plea agreement is
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                                                    13
                                                         “undoubtedly a violation of the defendant’s rights,” Puckett v. United States, 556
                                                    14
                                                         U.S. 129, 129 S.Ct. 1423, 173 L.Ed.2d 266 (2009), and the Government is held to
                                                    15
                                                         strict compliance with its terms in order to protect the fundamental rights of the
                                                    16
                                                         criminal defendant. U.S. v. Farias-Contreras at p. 32.
                                                    17
                                                               In Farias-Contreras, supra, the Ninth Circuit in an en banc opinion, ruled
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                                                         that the Government’s position in sentencing must be “tethered to its obligations
                                                    19
                                                         under the plea agreement, even when responding to the defendant’s specific
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                                                         request for downward departure or the court’s questions.” Id. at page 31.
                                                    21
                                                               Here, the plea agreement (Exh. A) required that the Government “not
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                                                         contest facts agreed to” in the agreement and recommend “that the court select
                                                    23
                                                         the low end of the applicable guideline range.” Plea Agreement, Exhibit A, pp. 4-
                                                    24
                                                         5 (cleaned up). The Government has breached the agreement in several respects.
                                                    25
                                                               It appears that the Government thought that simply stating in its position
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                                                         that it was recommending 121 months of imprisonment because it was the low-
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                                                     Case 2:23-cr-00024-JLS       Document 96    Filed 04/04/25   Page 5 of 7 Page ID #:945


                                                     1   end of the guideline range in the PSR was sufficient to comply with its contractual
                                                     2   obligations.
                                                     3         First, the Government was required to abide by the facts stated in the
                                                     4   agreement and not contest them. In this respect, the Government agreed at page
                                                     5   9, ¶ 13 that the loss (a) is less than $25 million and (b) an adjustment of +20
                                                     6   would apply (Emphasis supplied.) By agreeing with the PSR’s loss calculation of
                                                     7   loss as $26 million, the Government has contested the facts, agreed to 22 added
                                                     8   levels, and failed to correct the facts regarding some of the adjustments. In
                                                     9   making its argument, the Government did not just simply agree with the PSR on
                                                    10   the loss calculation, it argued forcefully in favor of the calculation in a 2 ½ page
301 N. LAKE AVENUE, STE. 315  PASADENA, CA 91101




                                                    11   response to defendant’s objections thereto and affirmatively states that “there is
                                                    12   no basis to reduce defendant’s loss by the amount of lulling payments.” See
            THE SEVERO LAW FIRM




                                                    13   Government Position, pp. 14 – 16.
                                                    14         Furthermore, the Government has attached as Exhibit 1 to its
                                                    15   memorandum, the Bankruptcy Trustee’s letter stating that Defendant spent over
                                                    16   $22 million on Girardi Keese’s American Express, all for his own use. In
                                                    17   addition to being a false and misleading statement – a point that the Government
                                                    18   made at Girardi’s trial – the Government’s sentencing position, by relying on
                                                    19   Government counsel’s declaration and “accompanying exhibits” (See
                                                    20   Government’s Sentencing Position, page 1), has adopted the Bankruptcy Trustee’s
                                                    21   position because the added $22 million would bring the loss to $48 million, and
                                                    22   thereby breached its obligations not to contest facts agreed upon, i.e., the loss is
                                                    23   less than $25 million.
                                                    24         Thus, while arguing out of one side of its figurative mouth that defendant
                                                    25   “should be given the benefit of his bargain” and recommending the loss be
                                                    26   limited to below $25,000,000, the Government affirmatively states out of the
                                                    27   other side that the loss amount is actually about $48 million.
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                                                     Case 2:23-cr-00024-JLS     Document 96     Filed 04/04/25    Page 6 of 7 Page ID #:946


                                                     1         Clearly, the Government’s promise to recommend that an adjustment of
                                                     2   “plus 20 for loss applies,” Plea Agreement, p. 9, is directly contradicted by its
                                                     3   arguments in favor of the PSR’s calculations, the reliance on the Bankruptcy
                                                     4   Trustee’s incorrect and misleading letter, and its specious arguments regarding
                                                     5   defendant’s status as a zero-point offender. Its strategy resonated with the U.S.
                                                     6   Probation Office, however. A revised PSR, disclosed on April 3, 2025, adopted
                                                     7   the Government’s argument regarding defendant’s status as a zero-point offender
                                                     8   and raised the guidelines calculation and its recommendation.
                                                     9         Closely connected to its promise to abide by the facts in the plea agreement
                                                    10   is the Government’s agreement to recommend a sentence at the low end of the
301 N. LAKE AVENUE, STE. 315  PASADENA, CA 91101




                                                    11   guidelines. In Farias-Contreras, the en banc court, quoting from U.S. v.
                                                    12   Whitney, supra, stated:
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                                                    13         “Although a sentencing recommendation need not be made
                                                    14   enthusiastically, when the government obligates itself to make a recommendation
                                                    15   at the low end of the guidelines range, it may not introduce information that
                                                    16   serves no purpose but to influence the court to give a higher sentence.” United
                                                    17   States v. Whitney, 673 F.3d at 971 (cleaned up), cited with approval in Farias-
                                                    18   Contreras, supra. Significantly, the Whitney and Farias-Contreras opinions
                                                    19   stated that, “This prohibition precludes referring to information that the court
                                                    20   already has before it, … including statements related to the seriousness of
                                                    21   defendant’s prior record, statements indicating a preference for a harsher
                                                    22   sentence, or the introduction of evidence that is irrelevant to any matter that the
                                                    23   government is permitted to argue.” Id. (cleaned up).
                                                    24         With respect to its argument regarding defendant’s zero-point offender
                                                    25   status, the Government’s position is clearly lacking in reason. While it correctly
                                                    26   points out the different factors, it fails to address how defendant personally
                                                    27   inflicted substantial financial hardship upon Girardi’s victims. This lackluster
                                                    28   argument is obviously offered simply to circumvent its obligation to give the
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                                                     Case 2:23-cr-00024-JLS     Document 96    Filed 04/04/25     Page 7 of 7 Page ID #:947


                                                     1   defendant the benefit of the bargain and to bring the Government’s position in
                                                     2   line with the PSR.
                                                     3          Furthermore, by using highly inflammatory language such as saying that
                                                     4   defendant’s conduct “warrants a significant custodial sentence,” calling
                                                     5   defendant a “gatekeeper” (defined as restricting access to others) and the
                                                     6   “mastermind”, agreeing with Bankruptcy Trustee that the court should impose
                                                     7   “the maximum sentence,”, the Government breached its covenant to recommend
                                                     8   a sentence at the low end of the guidelines as interpreted by clear Ninth Circuit
                                                     9   law.
                                                    10                                    CONCLUSION
301 N. LAKE AVENUE, STE. 315  PASADENA, CA 91101




                                                    11          For the foregoing reasons defendant respectfully declares a breach of the
                                                    12   plea agreement and asks the court to find such a breach and provide relief by
            THE SEVERO LAW FIRM




                                                    13   giving defendant the benefits for which he contracted.
                                                    14   Dated: April 5, 2025                         THE SEVERO LAW FIRM
                                                    15
                                                    16                                         By     /s/   Michael V. Severo
                                                    17                                                Michael V. Severo
                                                                                                      Attorney for Defendant
                                                    18                                                      CHRISTOPHER KAMON
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